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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

JAMES BACA,                                           )
                                                      )
          Plaintiff,                                  )   C.A. No. 18-919-RGA
                                                      )
          v.                                          )
                                                      )
CONTEGO INVESTIGATIVE                                 )
SERVICES, INC., PATRIOT                               )
NATIONAL, INC., TONI GOTT,                            )
and DOES 1 THROUGH 20,                                )
                                                      )
          Defendants.                                 )

                                         JOINT STATUS REPORT

          Pursuant to the Court’s July 31, 2018 Oral Order, the parties, by and through their

undersigned counsel, jointly submit this Joint Status Report (the “Report”). Counsel for above-

captioned the parties met and conferred regarding the statements made and positions taken in this

Report.

          1.      Jurisdiction and Service: Plaintiff brought this action in the United States District

Court for the Northern District of California asserting diversity jurisdiction pursuant to 28 U.S.C.

section 1332(a)(1). No party remains to be served. On June 19, 2018, the Honorable Sallie Kim

entered an order (the “Transfer Order”) transferring this action to this Court pursuant to 28 U.S.C.

section 1412. A copy of the Transfer Order is attached to this Report as Exhibit A.

          2.      Factual and Procedural Background:

                  a.       The factual and legal bases for Plaintiff’s claims are as follows:

          James Baca (“Baca” or the “Plaintiff”) filed a complaint in the United States District Court

for the Northern District of California on June 16, 2017 (the “State Court Action”) asserting

employment discrimination claims under California state and federal law. Baca alleges Defendants




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Contego Investigative Services, Inc., Patriot National, Inc. (collectively, “Contego” or the “Debtor

Defendants”),1 and Toni Gott (“Gott” and, together with Contego, the “Defendants”), one of

Contego’s employees, harassed and retaliated and discriminated against him because he refused to

harass employees he supervised who had complained about illegal conduct by Defendants and

because of his age, race, nationality, and disability. Plaintiff further alleges Defendants demoted

and deliberately misclassified him as an exempt employee to require him to work overtime and

miss meal periods and rest breaks, all without appropriate pay for such. Defendants’ conduct

caused Plaintiff physical and mental injuries, resulting in forced leaves of absence. Upon his return

to work, Defendants refused to accommodate Plaintiff’s disability and openly acted in a way that

directly jeopardized his and the public’s health to further push him to quit.

         On August 11, 2017, Contego answered the complaint and Gott moved to dismiss the

causes of action pled against her individually. After the Court granted Gott’s motion to dismiss,

Baca filed a First Amended Complaint (the “FAC”) [D.I. 31] on December 4, 2017, in which he

sought to cure with new factual allegations the deficiencies the Court identified in the original

complaint. Because Baca’s counsel misunderstood the Court’s order as granting leave to amend

the complaint generally, Baca also added without seeking further leave to amend two new causes

of action against Contego under federal law for harassment and overtime (causes of action 2 and

11 in the FAC, respectively) for claims similarly asserted under state law, and added Gott as a

defendant to his previously pled wage and hour claims (causes of action 10 and 12-14 in the FAC).

Despite having already answered, Contego, along with Gott, moved to dismiss and/or strike parts

of the FAC. At the time, both Contego and Gott were represented by the same counsel.




1      Contego Investigative Services, Inc. was not a party to the original complaint; it was added
as a Defendant by the FAC (later defined).


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         Defendants’ counsel subsequently sought permission to withdraw as counsel, citing,

among other things, non-payment of its legal fees and expenses. See D.I. 35 ¶ 2.

         On January 31, 2018, Contego filed a suggestion of bankruptcy, and the action was stayed

as against them.

         On February 12, the California District Court granted Defendants’ counsel’s motion to

withdraw and temporarily also stayed the action against Gott until the next case management

conference, in order to permit her to secure new counsel. That same day, the it also granted, without

prejudice, the motion to strike those parts of the FAC that exceeded the scope of the Court’s prior

order.

         On April 27 and 30, Baca, who was not represented by bankruptcy counsel, filed an

aggregate of four proofs of claim (the “POC”). Two of the POC are duplicative of the other two;

the two remaining POC are identical but are asserted against different debtor entities. Mr. Baca

filed these POC under penalty of the Bankruptcy Court’s order setting deadlines for filing proofs

of claim for April 30, 2018.

         At the March 19 case management conference, the Court reinstated the action as to Gott

only and set a May 7 deadline for Baca to file a Second Amended Complaint.

         Even though the action had been stayed as against Contego, on April 13, 2018, Contego

and Gott filed a motion to transfer the action to this Court. On May 11, Baca sought leave to

amend and file a Second Amended Complaint (the “SAC”). On June 19, 2018, the Northern

District of California granted Defendants’ request to transfer and, as a result, denied Baca’s motion

for leave to file the SAC without prejudice to refile the motion in this District.

         After the action was transferred to this District, Baca retained Delaware counsel.




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         Baca’s Delaware counsel, who also is familiar with federal bankruptcy law, reviewed the

SAC, the pleadings submitted on behalf of Baca, the State Court Action, and the POC, and advised

Baca accordingly.

         On August 6, 2018, based on new counsel’s advice, Baca withdrew the POC and no longer

is asserting any claims against the Debtor Defendants or their bankruptcy estates. It is Plaintiff’s

position that the reasoning of the Transfer Order no longer is applicable, based on Plaintiff’s

withdrawal of the POC. Plaintiff, acting pro se, never intended to submit his claims to the

jurisdiction of the Bankruptcy Court.

         It further is Baca’s position that this action is fundamentally different from the two pending

appeals from orders entered in the Debtor Defendants’ bankruptcy cases (C.A. Nos. 18-750 and

18-751), even though they appear as “related cases” on the docket. Significantly, as is indicated

below, Plaintiff has requested a jury trial, something the Bankruptcy Court is not permitted to

conduct.

                  b.       Defendant Gott’s position regarding this action:

         For the reasons set forth in the Transfer Order entered by the United States District Court

for the Northern District of California, Defendant Gott believes this action should be referred to

the United States Bankruptcy Court for the District of Delaware, pursuant to this Court’s Amended

Standing Order of Reference from the United States District Court for the District of Delaware,

dated February 29, 2012 (the “Standing Order”). The Standing Order provides that “[p]ursuant to

28 U.S.C. Section 157(a), any or all cases under Title 11 and any or all proceedings under Title 11

arising in or related to a case under Title 11 are referred to the bankruptcy judges for this district.”

Three of the Defendants in this action – Contego Services Group, LLC, Patriot National, Inc., and

Contego Investigative Services, Inc. – are chapter 11 debtors in the Delaware Bankruptcy Court,




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captioned In re Patriot National, Inc., et al., Case No. 18-10189-KG (Bankr. D. Del.). The chapter

11 cases are still open and a Litigation Trustee has been appointed under the debtors’ confirmed

reorganization plan to pursue litigation and object to claims filed against the debtors.

         As the Northern District of California held, Plaintiff’s claims involving Gott are “related

to” the pending chapter 11 cases. Plaintiff also filed multiple proofs of claim in the chapter 11

cases against the estates of the Defendants in this action seeking $20 million in damages. These

claims are some of the largest asserted unsecured claims in the chapter 11 cases. Resolving those

claims is vital to the administration of the Defendants’ bankruptcy cases because resolution of the

amount of Plaintiff’s claims will inevitably have a significant effect on the amounts and timing of

distributions to other legitimate unsecured creditors, a process now overseen by the Litigation

Trustee. In addition, filing the proofs of claim undeniably rendered this action a core proceeding,

over which the Delaware Bankruptcy Court has retained exclusive jurisdiction. 28 U.S.C. §

157(b)(2)(B).

         Defendant takes no position on how the Clerk of this Court identifies “related cases” on

this Court’s docket. The two pending appeals before this Court (C.A. Nos. 18-750 and 18-751)

were filed by certain parties to the confirmation order entered by the Bankruptcy Court in the

chapter 11 cases on May 4, 2018.

                  c.       Litigation Trustee’s position regarding this action on behalf of the Debtor
Defendants

         On May 4, 2018, the United States Bankruptcy Court for the District of Delaware (the

“Bankruptcy Court”) entered its Findings of Fact, Conclusions of Law, and Order Confirming

Fourth Further Amended Joint Chapter 11 Plan of Reorganization. D.I. 705 (the “Confirmation

Order”). On July 2, 2018 (the “Effective Date”), the Fourth Further Amended Chapter 11 Plan of

Reorganization (D.I. 702) (the “Plan”) became effective (D.I. 891). Pursuant to the terms of the



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Confirmation Order and the Plan, the PNI Litigation Trust (the “Trust”) was created, and Peter

Kravitz was appointed as the Litigation Trustee for the Trust and the Plan Administrator for the

Plan (Plan Administrator” and collectively with the Trustee, the “Trustee”).

         As Plan Administrator, the Trustee has responsibility for addressing and dealing with

litigation claims against the Debtors’ estates, including litigation claims such as this one, and

proofs of claim filed by parties in interest.

         In this case, the Trustee believes that the Plaintiff’s claims have been discharged and

released by the releases contained in the Plan and that, as a result of the Plaintiff filing numerous

proofs of claim in the Bankruptcy Court, Plaintiff’s claims must be adjudicated in the bankruptcy

court as part of the claims resolution process. Moreover, the proofs of claim filed by the Plaintiff

are some of the largest claims pending against the Debtor Defendants’ estates and are of a type

routinely handled by the Bankruptcy Court. As noted by the United States District Court for the

Northern District of California, the claims asserted by the Plaintiff are also “related to” the

bankruptcy proceedings: “Related to” jurisdiction applies to proceedings that impact the amount

of property available for distribution among creditors.” In re Feitz, 852 F.2d 455, 457 (9th Cir.

1988).     Here, there is no question that resolving one of the largest unsecured claims pending

against the estate should uniquely handled by the Bankruptcy Court. The Bankruptcy Court’s core

jurisdiction also supports this conclusion. The allowance or disallowance of the Plaintiff’s proof

of claim is a core bankruptcy matter. See 28 U.S.C. § 157(b)(2)(B).

         Under the circumstances, the Debtor Defendants agree with Defendant Gott and request

that, pursuant to that Amended Standing Order of Reference dated February 29, 2012 (Chief Judge

Sleet) (the “Standing Order”) the action be transferred to the Bankruptcy Court for resolution by

the Plan Administrator through the ordinary claims resolution process.




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         3.       Relief: Plaintiff seeks recovery of back and lost wages, penalties, liquidated

damages, lost earnings, emotional distress damages, and punitive damages, plus attorney’s fees,

interest, and costs. Plaintiff will also seek relief from the stay against Debtors. Defendants deny

Plaintiff is entitled to any of the requested relief or any relief whatsoever.

         4.       Amendment of Pleadings: Plaintiff will refile the motion for leave to file the SAC.

         5.       Joinder of Parties: None.

         6.       Discovery:

         Discovery Taken to Date:

         Plaintiff has served a first set of written discovery on Contego, which responded and

objected. Plaintiff will request that the Court compel further discovery responses and document

production. Plaintiff has deposed two non-party witnesses.

         In anticipation of a November 14, 2017 mediation, the parties had agreed to engage in

streamlined discovery, and to postpone formal depositions until after mediation. Mediation was

not successful, so Plaintiff will engage in full discovery, including depositions.

         Defendants have not conducted any discovery to date.

         Scope of Anticipated Form Discovery:

         Plaintiff: Plaintiff will engage in discovery regarding all of the facts and circumstances

surrounding Plaintiff's employment, including through depositions.

         Defendants: For the reasons set forth above, the Defendants believe the matter should first

be referred to the Bankruptcy Court for appropriate consideration of any pending issues.

         7.       Estimated Trial Length: Plaintiff has requested a jury trial. It is difficult to

estimate the length of any trial in this matter at this early stage in the proceeding.

         8.       Jury Trial Requested: Yes, Plaintiff has requested a jury trial.




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         9.       Settlement: The parties engaged in mediation on November 14, 2017. Mediation

was not successful. Plaintiff believes further mediation or other alternative dispute resolution

efforts could be successful at this time.

         10.      Such other matters as counsel considers conducive to the just, speedy, and

inexpensive determination of this action: It is Plaintiff’s position that handling this action as a

matter “related” to the pending confirmation order appeals, see supra, has no beneficial practical

effect either on the administration of the Contego’s bankruptcy estates or the liquidation of Baca’s

personal injury claims against the Defendants. To the contrary, it is respectfully submitted that

handling this action as a “related matter” of the bankruptcy appeals invites unnecessary

involvement by Contego’s counsel in this action. The matter presently is stayed against Contego’s,

and Baca will seek relief in the Bankruptcy Court that routinely is granted.

         11.      The undersigned counsel hereby certify that they have conferred about each of the

above matters 1 through 12.

 KLEIN LLC                                            PACHULSKI STANG ZIEHL & JONES LLP


 /s/ Julia B. Klein                                   /s/ Peter J. Keane
 Julia B. Klein (#5198)                               Laura Davis Jones (DE Bar No. 2436)
 919 North Market Street                              James E. O’Neill (DE Bar No. 4042)
 Suite 600                                            Peter J. Keane (DE Bar No. 5503)
 Wilmington, Delaware 19801                           919 North Market Street, 17th Floor
 (302) 438-0456                                       P.O. Box 8705
 klein@kleinllc.com                                   Wilmington, Delaware 19899-8705 (Courier
                                                      19801)
 Counsel to Plaintiff                                 Telephone: (302) 652-4100
 James Baca                                           Facsimile: (302) 652-4400
                                                      Email: ljones@pszjlaw.com
                                                              joneill@pszjlaw.com
                                                              pkeane@pszjlaw.com

                                                      Counsel to Defendant Toni Gott




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MORRIS JAMES LLP

/s/ Carl N. Kunz, III
Carl N. Kunz, III, Esq. (DE Bar No. 3201)
Brenna A. Dolphin, Esq. (DE Bar No. 5604)
500 Delaware Avenue, Suite 1500
P.O. Box 2306
Wilmington, Delaware 19801-1494
Telephone: (302) 888-6800
Facsimile: (302) 571-1750
E-mail: ckunz@morrisjames.com
E-mail: bdolphin@morrisjames.com

         -and-

David M. Posner, Esq.
Gianfranco Finizio, Esq.
Kilpatrick Townsend & Stockton LLP
The Grace Building
1114 Avenue of the Americas
New York, New York 10036-7703
Telephone: (212) 775-8700
Facsimile: (212) 775-8800
E-mail: dposner@kilpatricktownsend.com
E-mail: gfinizio@kilpatricktownsend.com

Counsel to Peter Kravitz
as Litigation Trustee of the PNI Litigation Trust




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